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   Attorneys for the United States of America
 8
                                  UNITED STATES DISTRICT COURT
 9
                                NORTHERN DISTRICT OF CALIFORNIA
10
                                         OAKLAND DIVISION
11
   UNITED STATES OF AMERICA,                   ) CASE NO. 4:19-cv-04281 KAW
12                                             )
          Plaintiff,                           ) STATUS REPORT
13                                             )
      v.                                       )
14                                             )
   BTC-e, a/k/a CANTON BUSINESS CORP., )
15                                             )
   and                                         )
16                                             )
   ALEXANDER VINNIK,                           )
17                                             )
          Defendants.                          )
18                                             )

19          Plaintiff United States of America (“United States”) respectfully submits this status report
20 pursuant to the Court’s Order Staying Case and Status Report Order, dated October 18, 2022, which

21 stayed this civil action against defendants Alexander Vinnik (“Vinnik”) and BTC-e “pending the

22 resolution of [ ] Vinnik’s criminal proceeding, United States v. Vinnik, 16-cr-00227-SI,” and ordered the

23 United States to provide status reports to this Court on April 17, 2023 and every 180 days thereafter

24 “regarding the status of the criminal proceeding until that matter is resolved.” ECF No. 39 at 2. The

25 United States provided its first status report on April 17, 2023, reporting to the Court that Vinnik’s

26 criminal proceeding was ongoing, that a status hearing was set for June 2, 2023, and that at that time, the

27 parties expected to set the case for trial. ECF No. 40. The United States’ second status report, dated

28 October 16, 2023, reported that Vinnik’s criminal proceeding remained ongoing, that the trial date had

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 1 been set for February 2024 then continued to a date to be determined in September 2024, and that the

 2 next status hearing was set for November 17, 2023. ECF No. 41. The United States’ third status report,

 3 dated April 12, 2024, reported that Vinnik’s criminal proceeding remained ongoing, with a change of

 4 plea hearing set for May 3, 2024. ECF No. 42.

 5         The United States now respectfully reports that Vinnik entered into a written Plea Agreement

 6 pursuant to Federal Rules of Criminal Procedure 11(c)(1)(A) and 11(c)(1)(B) on May 3, 2024, pleading

 7 guilty to money laundering conspiracy in violation of 18 U.S.C. § 1956(h). Sentencing is set to take

 8 place on January 17, 2025.

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10                                                    Respectfully submitted,
11
                                                      ISMAIL J. RAMSEY
12                                                    United States Attorney

13 Dated: September 10, 2024                   By:    /s/ Savith Iyengar
                                                      SAVITH IYENGAR
14                                                    Assistant United States Attorney

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